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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:18CR279

       vs.
                                                                        ORDER
DAJUAN PARKER,

                      Defendant.


       This matter is before the court on Defendant's MOTION FOR EXTENSION OF TIME
TO FILE PRETRIAL MOTIONS [54]. For good cause shown, I find that the motion should be
granted. Defendant will be given an approximate 30-day extension. Pretrial Motions shall be
filed by December 19, 2018.


       IT IS ORDERED:
       1.      Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [54] is granted. Pretrial motions shall be filed on or before December 19, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between November 19, 2018, and December 19,
2018, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel required additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 19th day of November, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
